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                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                       Case No.: 8:23-cr-388-TPB-CPT

MATTHEW FREDERIC BERGWALL,
      Defendant.
______________________________________/

        DEFENDANT’S UNOPPOSED MOTION FOR TRAVEL

      Defendant Matthew Frederic Bergwall, by and through undersigned

counsel, moves for permission to travel to New York and Connecticut during

the Christmas/New Year holiday as described below. The Government does

not oppose this motion.

      Defendant plans to fly to LaGuardia Airport (in the Eastern District of

New York) on December 14, 2023 and stay at the Wall Street Hotel, 88 Wall

Street, New York, New York (in the Southern District of New York) until

December 17. Defendant would then go to his mother’s house at 7 Lantern

Street, Darien, Connecticut (in the District of Connecticut) until January 3,

2024, when he would fly back to his residence in Miami.

      Undersigned counsel conferred with AUSA Gammons and was advised

that the Government does not oppose this motion.




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      Accordingly, Defendant requests that his current travel restrictions be

enlarged between December 14, 2023 and January 3, 2024 to include the

Eastern District of New York; the Southern District of New York; and the

District of Connecticut.

Dated: November 30, 2023                      Respectfully submitted:

                                               /s/ Kevin Darken
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                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on November 30, 2023, I electronically filed

the foregoing with the Clerk of Court by using the CMF/ECF system, which

will send a notice of electronic filing to all counsel of record.


                                                    /s/ Kevin Darken
                                                    KEVIN DARKEN




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